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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________
BORIS ROGINSKY,                                              Index No.: 1:19-cv-01613(LJV)(JJM)

               PLAINTIFF,

       -against-

M & T BANK,

            DEFENDANT.
_______________________________________

      MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S MOTION FOR
                        SUMMARY JUDGMENT

       Plaintiff Boris Roginsky (“Plaintiff”), by and through his attorneys, Sanders & Sanders, hereby

submits this Memorandum of Law to oppose the Motion for Summary Judgment submitted by

Defendant M&T Bank (“Defendant”). Defendant’s Motion fails to establish that its actions against

Plaintiff were taken for legitimate, nondiscriminatory or non-retaliatory reasons, and furthermore

raises numerous genuine disputes over material issues of fact. For the reasons stated herein, summary

judgment is inappropriate and this Court should deny Defendant’s motion in its entirety.

                                      STATEMENT OF FACTS

       Plaintiff respectfully refers this Court to his Rule 56(A)(2) Opposing Statement to Defendant’s

Proffered Statement of Undisputed Facts, and his accompanying Affidavit, with Exhibits, for the facts

relevant hereto.

                            STANDARD FOR SUMMARY JUDGMENT

       “[T]rial courts must be especially chary in handing out summary judgment in discrimination

cases . . . .” Chertkova v. Connecticut Gen. Life Ins., 92 F.3d 81, 87 (2d Cir. 1996).

       Summary judgment should only be granted by a district court when it determines there is no

genuine dispute as to any material fact and the moving party is entitled to judgment as a matter of law.
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Graham v. Long Island R.R., 230 F.3d 34, 38 (2d Cir. 2000), citing Fed.R.Civ.P. 56(c); see also

Celotex Corp. v. Catrett, 477 U.S. 317, 322, (1986). A dispute of fact is ‘genuine’ if the evidence is

such that a reasonable jury could return a verdict for the non-moving party. SCR Joint Venture L.P. v.

Warshawsky, 559 F.3d 133, 137 (2d Cir. 2009). The burden of showing that no genuine dispute of

material fact exists rests on the party seeking summary judgment. Chambers v. TRM Copy Centers

Corp., 43 F.3d 29, 36 (2d Cir.1994). The court “is not to weigh the evidence but is instead required to

view the evidence in the light most favorable to the party opposing summary judgment, to draw all

reasonable inferences in favor of that party, and to eschew credibility assessments.” Amnesty Am. v.

Town of W. Hartford, 361 F.3d 113, 122 (2d Cir.2004) (internal quotation marks and citation omitted).

“Credibility determinations, the weighing of evidence, and the drawing of legitimate inferences from

the facts are jury functions, not those of a judge.” Anderson v. Liberty Lobby, Inc., 477 U.S 242, 255

(1986). Thus, not only must there be no genuine dispute as to the evidentiary facts, but there must also

be no controversy regarding the inferences to be drawn from them. Donahue v. Windsor Locks Bd. of

Fire Commissioners, 834 F.2d 54, 57 (2d Cir.1987).

       The Second Circuit “has repeatedly emphasized the need for caution about granting summary

judgment to an employer in a discrimination case where ... the merits turn on a dispute as to the

employer’s intent.” Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 101 (2d Cir. 2010) (internal

quotation marks omitted). “Because direct evidence of an employer's discriminatory intent will rarely

be found, affidavits and depositions must be carefully scrutinized for circumstantial proof which, if

believed, would show discrimination.” Schwapp v. Town of Avon, 118 F.3d 106, 110 (2d Cir. 1997)

(internal quotation marks omitted); see also Holcomb v. Iona Coll., 521 F.3d 130, 137 (2d Cir. 2008)

(“Where an employer has acted with discriminatory intent, direct evidence of that intent will only

rarely be available, so that affidavits and depositions must be carefully scrutinized for circumstantial




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proof which, if believed, would show discrimination.” “Circumstantial evidence is not only sufficient,

but may also be more certain, satisfying and persuasive than direct evidence.”) Desert Palace, Inc. v.

Costa, 539 U.S. 90, 100 (2003).

                                             ARGUMENT

    I. Plaintiff has established a prima facie case of discrimination based on his age,1 national
          origin, and religion

       “[T]he level of proof a plaintiff is required to present in order to establish a prima facie case of

discrimination is low.” de la Cruz v. N.Y.C. Human Resources Admin. Dept. of Soc. Servs., 82 F.3d

16, 20 (2d Cir. 1996). “To establish a prima facie case of age discrimination under the ADEA [and the

NYSHRL, see Mandell v. County of Suffolk, 316 F.3d 368, 377 (2d Cir. 2003)], a claimant must

demonstrate that: 1) he was within the protected age group; 2) he was qualified for the position; 3) he

was subject to an adverse employment action; and 4) the adverse action occurred under circumstances

giving rise to an inference of discrimination. Terry v. Ashcroft, 336 F.3d 128, 137-38 (2d Cir. 2003)

(internal quotations and citations omitted). Similarly, to establish a prima facie case of national origin

or religious discrimination under Title VII or the NYSHRL, a plaintiff must demonstrate that (1) he

was a member of a class protected by Title VII or the NYSHRL, (2) he was qualified for the position,



1
 Defendant argues Plaintiff failed to plead a cause of action for age discrimination in his Complaint
because the Complaint does not include a separate cause of action, while acknowledging Plaintiff
alleges age discrimination under the relevant statutes. However, “[t]he law is well settled that the
Federal Rules of Civil Procedure do not require a claimant to set out in detail the facts upon which he
bases his claim. The Rules merely require ‘a short and plain statement of the claim’ that gives the
defendant fair notice of the plaintiff’s claim and the grounds upon which it rests. Boudeloche v. Grow
Chemical Coatings Corp., 728 F.2d 759, 762 (5th Cir. 1984) (citing Fed.R.Civ.P. 8(a) and Conley v.
Gibson, 355 U.S. 41, 47 (1957). Moreover, although Plaintiff did not include separate numbered
paragraphs under a subheading specifically labeling the statute under which he asserted his claim,
Plaintiff did, as Defendant concedes, indicate in his Complaint he was asserting “violations of
Plaintiff’s rights under the Age Discrimination in Employment Act of 1967, 29 U.S.C. § 621 et seq.
(“ADEA”) . . . .” Compl. ¶ 1. Plaintiff further alleges in his Complaint, “Plaintiff was also
discriminated against based on his age,” and that he complained to Defendant about “examples of the
harassment he was experiencing due to his religion, age, and national origin.” Compl. ¶¶ 50, 62


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(3) he suffered an adverse employment action, and (4) the adverse action occurred under circumstances

giving rise to an inference of discrimination. See McDonnell Douglas Corp. v. Green, 411 U.S. 792,

802 (1973). Defendant does not dispute the first two elements of Plaintiff’s discrimination claims –

that he was a member of the classes protected under the applicable laws or that he was qualified for his

position. Rather, Defendant challenges whether Plaintiff meets the last two elements of a

discrimination claim – that he suffered an adverse action and the adverse action occurred under

circumstances giving rise to an inference of discrimination.

        An “adverse employment action” can include termination of employment, a demotion

evidenced by a decrease in wage or salary, a less distinguished title, a material loss of benefits,

significantly diminished material responsibilities, or other indices “unique to a particular situation.” Id.

(quoting Galabya v. N.Y.C. Bd. of Educ., 202 F.3d 636, 640-41 (2d Cir. 2002) (further concluding “a

transfer is an adverse employment action if it results in a change in responsibilities so significant as to

constitute a setback to the plaintiff’s career)). “A tangible employment action in most cases inflicts

direct economic harm,” Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 762 (1998), but “there is no

requirement that it must always do so.” Jin v. Metro. Life Ins. Co., 310 F.3d 84, 97 (2d Cir. 2002).

        Likewise, courts have held reassignment with significantly different responsibilities can

constitute an adverse employment action. Lore v. City of Syracuse, 670 F.3d 127, 170 (2d Cir. 2012)

(“[T]he transfer of an employee from an elite position to one that is less prestigious . . . with little

opportunity for professional growth is sufficient to permit a jury to infer that the transfer was a

materially adverse employment action.”) (internal quotation marks omitted); Kessler v. Westchester

Cty. Dept. Soc. Servs., 461 F.3d 199 (2d Cir. 2006) (reversing summary judgment after finding

employee’s reassignment constituted adverse action); Williams v. All. Natl. Inc., 24 F. App’x 50, 53


(emphasis added). Thus, Defendant clearly had fair notice of Plaintiff’s age discrimination claims and
the grounds upon which they rest


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(2d Cir. 2001) (summary order) (“A plaintiff can show an adverse employment action where, even

though she was transferred to a job with the same rank and pay, the new position was arguably less

prestigious or entailed diminished responsibilities.”); De La Cruz, 82 F.3d at 21 (deeming transfer to

comparable position with no change in pay but different job responsibilities to constitute adverse

employment decision); Hampton v. Borough of Tinton Falls Police Dept., 98 F.3d 107, 116 (3d

Cir.1996) (reversing grant of summary judgment and leaving for jury questions whether defendant’s

“reassignment” of plaintiff to a less desirable position was in fact a “transfer” or a “demotion” and

whether the move was an “adverse employment decision”); Rodriguez v. Board of Educ., 620 F.2d 362

(2d Cir. 1980) (same); see also Collins v. Illinois, 830 F.2d 692, 704 (7th Cir. 1987) (denial of an

office and telephone, combined with reduced visibility and a change in assignments from consulting to

reference work, amounted to an adverse employment action); St. John v. Employment Development

Dept., 642 F.2d 273, 274 (9th Cir.1981) (adverse job action demonstrated by transfer of employee to

another job of the same pay and status); Trout v. Hidalgo, 517 F.Supp. 873, 890 n. 67 (D.D.C.1981)

(“removal of [employee’s] office to an undesirable location” deemed adverse action), aff’d in part and

rev’d in part sub nom. Moreover, “If an employee’s transfer to a different job is motivated by race or

age considerations, it is obviously a discriminatory action affecting terms or conditions of

employment.” Day v. Derwinski, 771 F.Supp. 588 (S.D.N.Y.), aff'd, 953 F.2d 635 (2d Cir.1991).

     Once a plaintiff has established a prima facie case, the burden shifts to the defendant, which is

required to offer a legitimate, non-discriminatory rationale for its actions. See McDonnell Douglas,

411 U.S. at802; Schnabel v. Abramson, 232 F.3d 83, 87 (2d Cir.2000) (ADEA). An employer’s

proffered non-discriminatory rationale can be overcome by “circumstances that would be sufficient to

permit a rational finder of fact to infer that the defendant’s employment decision was more likely than




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not based in whole or in part on discrimination.” Stern v. Trustees of Columbia Univ. in City of New

York, 131 F.3d 305, 312 (2d Cir. 1997).

            a. Plaintiff was subjected to adverse employment action

        Here, one example of Plaintiff being subjected to an adverse employment action was wen he

was demoted, not by title or pay, but by having his material responsibilities significantly diminished.

See Sanders v. N.Y.C. Human Res. Admin., 361 F.3d 749, 755 (2d Cir. 2004). Defendant couches this

as an “incident in 2017 where Hassett asked Roginsky to oversee development of a new data quality

discipline based on Roginsky’s skillset.” Def.’s Mem., p. 12. However, the evidence more accurately

shows this was indeed a demotion.

        In de la Cruz, the employer transferred the plaintiff to a different unit without any cut in pay.

Plaintiff argued defendants moved him from an “elite” division, which provided prestige and

opportunity for advancement, to a less prestigious unit with little opportunity for professional growth.

See 82 F.3d at 21. The Second Circuit held “the transfer arguably altered the terms and conditions of

his employment in a negative way. This is sufficient to satisfy the third prong of the McDonnell

Douglas prima facie test.” Id. (citing McDonnell Douglas, 411 U.S. 792). The Second Circuit further

concluded “the question of whether [plaintiff] has been harmed by the transfer would be a question of

fact for trial.” Id.

        In Rodriguez, the plaintiff was a junior high school art teacher with twenty years of experience

and a master’s and doctoral degree in art and art education who specifically focused her studies on

junior high school art programs. See 620 F.2d at 364. She was involuntarily transferred to teach

elementary school art, which was so “profoundly different” than her previous position as to render her

twenty years of experience “useless” and effectively constituted a setback to her career. Id. at 365-66.

Although the district court granted summary judgment for defendants, finding that there had been no




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adverse employment action because plaintiff had not lost salary, benefits, seniority, or tenure, the

Second Circuit reversed, holding that the transfer was a “radical change in the nature of the work,”

which thus constituted “interference with a condition or privilege of employment.” Id.

       Similar to the plaintiffs in de la Cruz and Rodriguez, here, Plaintiff was removed from a

position involving application development and the operational data store, where he supervised a team

of eight to ten employees, and placed in a data quality position where his supervisory role was reduced

to overseeing just one employee. Roginsky Tr. 24:13-25:8. He was removed from his office and

placed in an isolated cubicle. Roginsky Tr. 119:9-11. Although his title and pay were unchanged,

Plaintiff considered this a demotion, particularly as he was originally hired specifically to oversee

application development and the operational data store because of his ability to manage and recruit

technical staff and his hands-on abilities, he possessed a degree in computer science and mathematics,

had received training on web development, and had years of experience in computer networking and

information technology in the banking industry. Roginsky Tr. 10:1, 12:7-23:3, 96:18-23, 121:17-20;

Roginsky Aff. Exh. 1. Meanwhile, his replacement, Ansari, was originally hired as an analyst and did

not even have a computer science degree. Additionally, Hassett, Ansari, and Morrision began

excluding Plaintiff from projects, communications, and meetings. Roginsky Tr. 99:14-101:23.

Plaintiff confirmed the data quality role was of lower significance and prestige within Defendant,

particularly given the dramatic reduction in Plaintiff’s management role. Roginsky Aff. ¶ 7. Although

Defendant tried to disguise the demotion as a mere transfer of responsibilities, Plaintiff understood it

for what it really was. At a minimum, this is a material disputed fact that must be left to the jury. See

Hampton, 98 F.3d at 116. As such, summary judgment on this issue is inappropriate.

       Another adverse employment action was the denial of promotions. Defendant argues Plaintiff

has no evidence he was denied promotions and that he was unable to identify the specific positions at




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issue. This is belied by the evidence Plaintiff produced during discovery indicating numerous

positions he applied for within Defendant, but which Defendant refused to hire him for despite his

overwhelming qualifications. Roginsky Aff. ¶ 13, Exh. 1 (BR 94-105). Additionally, Morrison and

Hassett had, prior to Defendant’s rejection of Plaintiff’s applications, discussed how it was difficult to

get rid of an employee after that employee was forty-seven years of age, which evidences Defendant’s

age-based considerations in rejecting Plaintiff for the positions. Roginsky Tr. 128:21-129:5, 137:5-9.

Additionally, Plaintiff had previously overheard someone state around September of 2018 that

“Russians are not team players,” which evidences Defendant’s national-origin-based motive against

promoting Plaintiff into those positions. Roginsky Tr. 137:20-138:6.

       Defendant argues its decision to place Plaintiff on administrative leave and require him to

obtain medical clearance before returning to work does not constitute an adverse action, but

Defendant’s argument on this point concerns only its motives for making this decision, rather than the

issue of whether that decision constitutes an adverse action. See Def.’s Mem., p. 13. There can be no

question removing an employee from duty in direct response to his complaints of harassment, whether

or not that employee still receives pay, is an adverse action. See Winslow v. Pulaski Acad., 448

F.Supp.3d (N.D.N.Y. 2020) (holding administrative leave constituted adverse employment action).

     An employer’s motives for taking an adverse action are analyzed under the same burden-shifting

standards for most discrimination claims – that is, once a plaintiff has established a prima facie case,

the burden shifts to the defendant, which is required to offer a legitimate, non-discriminatory rationale

for its actions. See McDonnell Douglas, 411 U.S. at802; Schnabel v. Abramson, 232 F.3d 83, 87 (2d

Cir.2000) (ADEA). An employer’s proffered non-discriminatory rationale can be overcome by

“circumstances that would be sufficient to permit a rational finder of fact to infer that the defendant’s




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employment decision was more likely than not based in whole or in part on discrimination.” Stern v.

Trustees of Columbia Univ. in City of New York, 131 F.3d 305, 312 (2d Cir. 1997).

       Although not relevant to the question of whether the administrative leave and medical

evaluation requirements themselves constituted an adverse action, Defendant claims its decision to

place Plaintiff on medical leave was motivated by a “good-faith concern for his well-being.” However,

there is no evidence its purported concerns for Plaintiff’s well-being related to his ability to perform

his job responsibilities. Indeed, Plaintiff questioned the reasons for Defendant’s decision to direct him

to obtain a statement from his physician indicating he was able to work, specifically stating to

Defendant, “I don’t see any reason for it.” Frank Exh. 9; Roginsky Tr. 207:3.

       Defendant’s only support for its decision is a single conclusory allegation by Frank that “Mr.

Roginsky’s conduct caused business-line management and members of the Human Resources

department to reasonably believe that Mr. Roginsky’s ability to perform the essential functions of his

position may be impaired.” Frank Aff. ¶ 19. Yet, there is no evidence Plaintiff was not successfully

doing his job. This lone statement is less an assertion of fact than it is a speculation about a legal

conclusion, and it says nothing about what specific conduct impacted Plaintiff’s work performance or

what specific functions of Plaintiff’s position Defendant believed he may not be able to perform after

Defendant reviewed Plaintiff’s journal. Thus, Frank’s statement is plainly insufficient to set forth a

legitimate, nondiscriminatory reason for the adverse action of placing Plaintiff on administrative leave

and requiring him to obtain medical clearance from his doctor prior to returning to work. Defendant

has not alleged Plaintiff’s performance was unsatisfactory or deficient in any way. Therefore,

Defendant’s claims it decided to place Plaintiff on leave out of “concern for [Plaintiff’s] well-being”

are entirely unsubstantiated and are clearly pretextual.




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   II. Plaintiff was constructively discharged and subjected to a hostile work environment

       “Constructive discharge of an employee occurs when an employer, rather than directly

discharging an individual, intentionally creates an intolerable work atmosphere that forces an

employee to quit involuntarily. Working conditions are intolerable if they are so difficult or unpleasant

that a reasonable person in the employee’s shoes would have felt compelled to resign.” Whidbee v.

Garzarelli Food Specialties, 223 F.3d 62, 73 (2d Cir. 1999). Necessarily, constructive discharge

claims go hand-in-hand with hostile work environment claims. See Chertkova, 92 F.3d at 89

(reversing summary judgment and finding constructive discharge where “supervisor engaged in a

pattern of baseless criticisms, said [plaintiff] would not ‘be around,’ and that [plaintiff] would be fired

instantly if she did not meet certain ambiguous behavior objectives”); Lopez v. S.B. Thomas, 831 F.2d

1184, 1188 (2d Cir. 1987) (finding evidence of constructive discharge because supervisor told

employer “he would be fired at the end of [a] probationary period no matter what he did to improve his

allegedly deficient performance”).

       In the few months that preceded his resignation, Plaintiff overheard comments uttered in his

presence indicating Defendant ultimately planned to terminate him, which logically would have

followed the conduct of Defendant leading up to that point, including Defendant’s reducing his

responsibilities, ostracizing him from his coworkers, and removing him from work pending his

physician’s clearing him. See Roginsky Tr. 99:11-22, 201:7-202:3. The threats of termination

Plaintiff received are similar to those the plaintiffs in Chertkova and Lopez received, particularly in

light of the evidence Defendant clearly had been setting up Plaintiff for an inevitable termination.

Indeed, just as the Second Circuit found in Chertkova that “a reasonable person in [plaintiff’s] position

might have inferred from the circumstances . . . that she was compelled to leave,” here it is readily

apparent a reasonable person in Plaintiff’s position would have seen the proverbial ‘writing on the




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wall,’ and reasonably felt the only reprieve from the hostility he endured for so long was to resign his

position with Defendant. Plaintiff did not consider leaving his employment with Defendant until a

couple months before his employment ended. See Roginsky Tr. 225: 17-19. It is clear the

environment reached a point Plaintiff could no longer endure, and he felt compelled to resign.

       Regarding the environment itself, courts assess a hostile work environment by considering the

frequency of the discriminatory conduct, its severity, whether it is physically threatening or

humiliating or a mere offensive utterance, and whether it unreasonably interferes with [the] employee's

work performance. Walsh v. Scarsdale Union Free School Dist., No. 16 Civ. 3558 (NSR), at *14

(S.D.N.Y. Mar. 22, 2019) (citing Harris v. Forklift Sys., Inc., 510 U.S. 17, 21, 114 S.Ct. 367 (1993)).

“The fact that the law requires harassment to be severe or pervasive before it can be actionable does

not mean that employers are free from liability in all but the most egregious of cases,” Harris, 510 U.S.

at 22, and the Second Circuit has “cautioned against setting the bar too high.” Terry v. Ashcroft, 336

F.3d 128, 148 (2d Cir. 2003).

       “The Second Circuit has also explained that ‘the environment need not be unendurable or

intolerable.’” Walsh, No. 16 Civ. 3558 (NSR), at *33. (quoting Whidbee v. Garzarelli Food

Specialties, Inc. 223 F.3d 62, 70 (2d Cir. 2000)). “[T]he appalling conduct alleged in prior cases

should not be taken to mark the boundary of what is actionable.” Torres v. Pisano, 116 F.3d 625 (2d

Cir. 1997) (quotation marks omitted). “Nor must the victim’s ‘psychological well-being be

damaged.’” Walsh, No. 16 Civ. 3558 (NSR), at *33 (quoting Terry, 336 F.3d at 148). Even

“[f]requent petty occurrences and social isolation can constitute a hostile work environment. While no

single factor [the plaintiff] lists may be severe enough to deem his work environment hostile, the

Second Circuit has held that ‘the effect of a number of adverse conditions in the workplace is

cumulative.’” Id. (quoting Chertkova v. Connecticut Gen. Life Ins. Co., 92 F.3d 81 (2d Cir. 1996)




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(emphasis added)). Nevertheless, “[e]ven an isolated act may be so serious that it requires the

conclusion that the terms and conditions of employment were altered.” Fox. v. Costco Wholesale

Corp. , 918 F.3d 65, 74 (2d Cir. 2019).

          Because “[r]easonable jurors may well disagree about whether these incidents would negatively

alter the working conditions of a reasonable employee . . . . the potential for such disagreement renders

summary judgment inappropriate.” Whidbee v. Garzarelli Food Specialties, 223 F.3d 62 (2d Cir.

2000) (quoting Richardson v. New York State Dep't of Correctional Serv., 180 F.3d 426, 439 (2d Cir.

1999)).

          In Walsh, the court denied the employer’s summary judgment motion on the employee’s hostile

work environment claims because, inter alia, the employer subjected the employee to an inordinate

number of observations, his colleagues shunned him, the employer put the employee in a unit where

“no one had his back,” and the employer failed to address the employee’s subsequent complaint

against these actions. Id. at *31.

          Similarly, here Plaintiff’s managers and coworkers shunned him by excluding him from

meetings and communications and moving him to an isolated cubicle where he worked mostly alone,

and Defendant responded to Plaintiff’s complaints by taking him out of work and accusing him of

being mentally unstable. That all was in addition to being subjected to nearly “daily” or “very

frequent” harassment, including offensive comments about his religion and national origin (including

being a “dirty Jew,” “stinky Jew,” a “crazy Russian,” a “cheater,” being told that Russians cannot be

leaders, and being told about a coworker’s family connections to Hitler), harassing physical jokes

about his religion (such as leaving money on the floor in hopes he would pick it up), demotion, denial

of promotion, and being told to get proof from his physician that he was psychologically fit to work.




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See Roginsky Tr. 34:1-8; 45:6-46:3, 48:7-49:14, 63:17-65:7, 96:18-19, 99:14-22, 132:18-133:14,

146:4-6, 156:15-21.

       Courts have determined even less frequent and less severe use of religious slurs to be

sufficiently severe and/or pervasive to establish a hostile work environment. Finkelshteyn v. Staten

Island Univ. Hosp., 687 F.Supp.2d 66, 78-79 (E.D.N.Y. 2009) (denying summary judgment and

holding a few instances of a supervisor’s offensive remarks spread over a two-year period, two of

which were not even directed at plaintiff, including “fire this fucking Chinese bitch” [referring to a

coworker], anti-Semitic remarks about a Jewish patient, stating that Jews were a “problem[] on this

unit,” and referring to plaintiff outside of his presence as a “Jew Head” and saying “we’ll get rid of

him soon enough,” established a hostile work environment); Santiesteban v. Nestle Waters N. Am.,

Inc., 61 F.Supp.3d 221, 243 (E.D.N.Y. 2014) (among other incidents, irregular comments toward

Jewish employee from supervisors, such as “all Jews stick together,” “you people are manipulative,”

“sunset being later” on Fridays, “I didn’t know it was Halloween and when are you going to take that

off?” and being criticized for observing the Sabbath and a kosher diet, although not individually

sufficient to establish hostile work environment, was pervasive enough to establish hostile work

environment when viewing “the totality of the circumstances in a light most favorable to Plaintiff . . .

.”).

       Moreover, even considered as a single incident, Defendant’s implication that Plaintiff was

mentally unstable, and Defendant’s subsequent decision to place Plaintiff on administrative leave and

not allow him to return to work until his doctor psychologically cleared him, it is clear this incident

alone was so severe that it “requires the conclusion that the terms and conditions of employment were

altered.” See Fox, 918 F.3d at 74. Indeed it was not until after this incident that Plaintiff finally




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resolved to seek employment elsewhere. Thus, the evidence establishes Plaintiff was subjected to an

environment that was severe enough and pervasive enough to constitute a hostile work environment.

           a. Defendant took deliberate action against Plaintiff

       Defendant undeniably took direct and deliberate action against Plaintiff. Defendant admits it

removed Plaintiff from duty by placing him on administrative leave and refusing to permit him to

return to work until he presented proof he was psychologically fit to do so.

       Defendant cites to Plaintiff’s deposition testimony when he testified he did not know who

uttered the offensive comments in his presence and testified he did not hear Hassett or Chestnut utter

any offensive comments. But although Hassett and Chestnut may not have made any offensive

comments toward Plaintiff, Hassett was responsible for demoting Plaintiff and cutting him out of

meetings and communications. Hassett therefore committed harassment and discrimination in

different forms.

       Defendant admits Plaintiffconfirmed verbal harassment from Beno on at least one occasion,

when Beno referenced Hitler in a conversation with Plaintiff. Defendant claims this remark falls

beyond the limitations period for Title VII and the HRL, but as discussed in Point VI, infra, Beno’s

offensive remark is clearly encompassed within the continuing hostile work environment Plaintiff

suffered and is therefore not time-barred. Defendant also claims an isolated comment is insufficient to

establish constructive discharge, but Defendant ignores that Plaintiff’s constructive discharge was the

result of the cumulative effects of harassment and discrimination from multiple individuals over a

period of several years, and Plaintiff does not claim his discharge was the result of Beno’s comment

alone. Defendant also incorrectly alleges Plaintiff never reported Beno’s comment, when Plaintiff

clearly testified he reported Beno for inappropriate behavior and discrimination around the time the

comment was made. See Roginsky Tr. 36:14-20, 84:16-19. Finally, harassment can be imputed to




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Defendant because it is undisputed various levels of management contributed to the adverse actions

and harassment Plaintiff received, including his demotion and his removal from work pending

psychological clearance from his doctor. Plaintiff did not voluntarily take medical leave toward the

end of 2018. Thus, it cannot be reasonably disputed that Defendant took deliberate action against

Plaintiff.

             b. The evidence proves Plaintiff’s claims, and Plaintiff’s claims are actionable

                    i. Plaintiff did not ‘admit’ any of his allegations were false, the evidence
                       supports Plaintiff’s claims of harassment, and the allegedly “unrelated”
                       comments are relevant because they contributed to the overall hostile work
                       environment

        Defendant refers to numerous allegations of the Complaint as “admittedly false,” but the

testimony of Plaintiff clearly shows otherwise.

        Plaintiff did, in fact, see on multiple occasions that someone had dropped money on the floor.

Roginsky Tr. 63:20-22. While he could not identify at his deposition who specifically had dropped the

money, he clearly testified he saw the money. Id.

        Plaintiff did, in fact, maintain at his testimony that although he did not personally witness

Hassett or Morrison at the hotel where he was attending a wake, he had reasons to believe they were

there. Roginsky Tr. 73:4-76:4. Plaintiff also testified he did, in fact, believe Ross was there as well.

Roginsky Tr. 71:19-20.

        Similarly, while Plaintiff could not name which employees made the comments “dirty Jew,”

“stinky Jew,” “crazy Russian,” “thief,” or “cheater,” or accused him of being a “spy,” he did confirm

during his deposition that he did indeed hear those statements from someone at Defendant while he

was there. Simply because Plaintiff did not observe the speaker does not mean he did not hear those

comments. Similarly, although Plaintiff was subjected to numerous other comments that do not at first

appear to directly refer to his age, national origin, or religion, those comments (particularly being told,



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“I don’t need you here,” he was “not good,” and being part of the “poor man’s army”) those comments

are actionable because they are encompassed within the overall hostile work environment Plaintiff

suffered. Other courts have found similar comments that at first appear unrelated to be related to

actionable harassment when viewed in “the totality of the circumstances.” See Finkelshteyn, 687

F.Supp.2d at 78-79 (finding “we’ll get rid of him soon enough” related to anti-Semitic harassment);

Santiesteban, 61 F.Supp.3d at 243 (finding comments “you people are manipulative,” and “sunset

being later” on Fridays, to be related to anti-Semitic harassment).

   III. Faragher/Ellerth does not preclude Plaintiff’s claims

       To the extent it may apply, the “Faragher-Ellerth” doctrine is an affirmative defense requiring

an employer to establish “(a) that the employer exercised reasonable care to prevent and correct

promptly any sexually harassing behavior, and (b) that the plaintiff employee unreasonably failed to

take advantage of any preventive or corrective opportunities provided by the employer or to avoid

harm otherwise.” Burlington Industries, Inc. v. Ellerth, 524 U.S. 742, 745 (1998); Faragher v. City of

Boca Raton, 524 U.S. 775 (1998). However, courts have cautioned about applying this affirmative

defense strictly. As the Second Circuit recently articulated:

       We do not believe that the Supreme Court, when it fashioned this affirmative defense,
       intended that victims of . . . harassment, in order to preserve their rights, must go from
       manager to manager until they find someone who will address their complaints. There is
       no requirement that a plaintiff exhaust all possible avenues made available where
       circumstances warrant the belief that some or all of those avenues would be ineffective
       or antagonistic. Considering the courage it takes to complain about what are often
       humiliating events and the understandable fear of retaliation that exists in many . . .
       harassment situations, we decline to read the rule so rigidly. Accordingly, we hold that
       an employer is not, as a matter of law, entitled to the Faragher/Ellerth affirmative
       defense simply because an employer’s sexual harassment policy provides that the
       plaintiff could have complained to other persons as well as the alleged harasser.

Gorzynski v. Jetblue Airways Corp., 596 F.3d 93, 105-06 (2d Cir. 2010). Moreover, courts have made

expressly clear that this affirmative defense is only available when the harassment comes from a “mere




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co-worker,” not when it comes from a direct supervisor. Petrosino v. Bell Atl., 385 F.3d 210, 225 (2d

Cir 2004); Ellerth, 524 U.S. at 765 (“An employer is subject to vicarious liability to a victimized

employee for an actionable hostile work environment created by a supervisor with immediate (or

successively higher) authority over the employee.”). Likewise, “ʻ[w]hen the supervisor’s harassment

culminates in a tangible employment action, such as discharge, demotion, or undesirable

reassignment,’ an employer is not entitled to any affirmative defense and will be held strictly liable

for the supervisor’s harassment.’” Dawson v. Cty. of Westchester, 351 F.Supp.2d 176 (S.D.N.Y. 2004)

(emphasis added) (quoting Ellerth, 524 U.S. at 765); see also Pa. State Police v. Suders, 542 U.S. 129,

(2004) (“We conclude that an employer does not have recourse to the Ellerth/Faragher affirmative

defense when a supervisor’s official act precipitates the constructive discharge) (emphasis added);

Ellerth, 524 U.S., at 758 (an employer is liable for the acts of its agent when the agent “was aided in

accomplishing the tort by the existence of the agency relation.”) (internal quotations and citations

omitted). Thus, it is well-settled that the Faragher/Ellerth defense is not available in instances of

demotion, undesirable reassignment, or discharge, or in instances where the harassment is at the hands

of a supervisor.

       Here, Plaintiff suffered more than just regular harassment and hostility in the form of offensive

comments and gestures. He was demoted by being reassigned to an undesirable position, and was

eventually constructively discharged, which are undeniably tangible employment actions.

Additionally, much of the harassment and discrimination Plaintiff endured was at the hands of his

supervisors, specifically Hassett (who demoted Plaintiff and moved him to the cubicle, and then

excluded him from communications and meetings), Beno (who yelled at Plaintiff, told Plaintiff he

“likes to deal with a tough Russian,” and told Plaintiff about his family connections to Hitler), and




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Morrison (who also excluded Plaintiff from communications). Roginsky Tr. 34:1-15, 96:10-19, 99:15-

17. Thus, Defendant may not rely on the Faragher/Ellerth defense here.

        Even if Defendant could assert that affirmative defense here, however, it is undisputed that

Plaintiff did, in fact, follow Defendant’s internal complaint policy by contacting its Human Resources

department. Plaintiff provided specific written details of the hostility, harassment, and discrimination

he suffered, in the form of a written journal memorializing specific incidents (which Defendant does

not deny it received), but Defendant’s Human Resources reacted by accusing him of being mentally

unstable and removing him from duty instead of assisting him in his complaints. Thus, Defendant can

hardly be said to have taken “reasonable care to prevent and promptly correct” the harassing behavior

Plaintiff complained about. See Ferraro v. Kellwood Co., 2005 WL 2646619 (S.D.N.Y. Nov. 18,

2004), aff’d 440 F.3d 96 (2d Cir. 2006). Moreover, because it is undisputed that Plaintiff did take

advantage of the corrective opportunities Defendant purportedly offered, Defendant cannot establish

the second element of the Faragher/Ellerth defense, and the affirmative defense therefore fails.

    IV. Plaintiff’s claims are not time-barred

        Defendant argues, “Conduct that occurred before November 26, 2016 is time-barred under the

HRL.” Def.’s Mem., p. 23. This argument is plainly without merit. First, Defendant does not dispute

that at least some of the incidents alleged in the Complaint are timely, specifically those that occurred

after November 26, 2016. Furthermore, even the conduct that occurred prior to November 26, 2016 is

timely as it is encompassed within Plaintiff’s claims of a continuous hostile work environment over a

number of years. Finally, regardless of whether those incidents preceding November 26, 2016 are

timely, they are still highly relevant background information to the harassment and discrimination

Plaintiff endured after that date.




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        Under the HRL, “If the alleged unlawful discriminatory practice is of a continuing nature, its

occurrence shall be deemed to be any date subsequent to its inception, up to and including the date of

its cessation.” 9 NYCRR 465.3(e). Regarding Title VII claims, in National R.R. Passenger Corp. v.

Morgan, 536 U.S. 101, 122 (2002), the Supreme Court noted “a charge alleging a hostile work

environment claim . . . will not be time barred if all acts constituting the claim are part of the same

unlawful practice and at least one act falls within the filing period.” The Supreme Court further

explained, “it does not matter that some of the component acts fall outside the statutory time period.

Provided that an act contributing to the claim occurs within the filing period, the entire time period of

the hostile environment may be considered for the purposes of determining liability.” Id. at 117.

Likewise, “consideration of the entire scope of a hostile work environment claim, including behavior

alleged outside the statutory time period, is permissible for the purposes of assessing liability, so long

as any act contributing to that hostile environment takes place within the statutory time period.” Id. at

105. In any event, “Many courts have found such a decision as to whether a plaintiff’s claims

constitute a continuing violation an issue that should be determined by a trier of fact.” EEOC v. UPS,

Inc., 2017 WL 9482105, at *15 (E.D.N.Y. Mar. 9, 2017); Fitchett v. N.Y.C., 18 Civ. 8144 (PAE)

(S.D.N.Y. Jul. 30, 2019) (declining to hold prior to discovery that continuing violation doctrine was

unavailable to plaintiff).

        Even substantial gaps in time between incidents falling outside the limitations period and

incidents falling inside the limitations period have been held to constitute continuing violations for the

purposes of hostile work environment claims. See Cornwell v. Robinson, 23 F.3d 694 (2d Cir. 1994)

(finding timely continuing violation claim despite more than three year gap between first incidents of

harassment and final incidents); James v. N.Y.C., 144 A.D.3d 466 (1st Dep’t 2016) (including under

continuing violation theory incidents six years prior to filing of hostile work environment claim);




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Kimmel v. State, 49 A.D.3d 1210 (4th Dep’t 2008) (finding valid continuing violation for hostile work

environment claim alleging incidents spanning fifteen years); Farrugia v. North Shore Univ. Hosp., 13

Misc.3d 740 (Sup. Ct. N.Y. Cty. Jun. 21, 2006) (continuing violation where, over six-month period,

co-worker once commented plaintiff was a “broken arrow” after he revealed he had a medical

condition in his scrotum, once rubbed plaintiff's waist with her arm while gesturing as if she were

holding his genitals, and made repeated comments to plaintiff he “did not like women” and was

“selfish and cold-hearted.”); Bermudez, 783 F.Supp.2d 560 (denying motion to dismiss NYSHRL

harassment claim an individual defendant and holding, despite only the final incident falling within the

limitations period, other incidents several years outside the limitations period were timely as part of a

continuing violation despite a gap of over a year between the individual defendant’s final act and the

ones preceding it).

       Defendant does not dispute at least some of Plaintiff’s claims are timely under the applicable

statues of limitations. The Complaint clearly outlines a continuing violation of the HRL, as each of the

incidents noted was part of the ongoing hostile work environment Plaintiff endured. Plaintiff testified

he endured approximately “daily” or “very frequent” harassment, including offensive comments about

his religion and national origin (including being a “dirty Jew,” “stinky Jew,” a “crazy Russian,” a

“cheater,” being told that Russians cannot be leaders, and being told about a coworker’s family

connections to Hitler), harassing physical jokes about his religion (such as leaving money on the floor

in hopes he would pick it up), in addition to being demoted, denied promotion, being placed on

administrative leave, and being told to get proof from his physician that he was psychologically fit to

work. See Roginsky Tr. 34:1-8; 45:6-46:3, 48:7-49:14, 63:17-65:7, 96:18-19, 99:14-22, 132:18-

133:14, 146:4-6, 156:15-21. Plaintiff testified the harassment started shortly after he began working at

Defendant, with Beno’s comments about Hitler coming towards the end of 2013 or beginning of 2014,




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just a few months after Plaintiff started. See Roginsky Tr. 23:6, 36:19-22, 84:16-19. Plaintiff testified

that the incident where Hassett and Morrison harassed him at the hotel occurred in approximately

February of 2015. Roginsky Tr. 70:11. Plaintiff testified Hassett demoted him sometime in 2017,

after Hassett became his supervisor in approximately the fall of 2015. See Roginsky Tr. 92:12-94:21;

Frank Exh. 8, p. 1 (noting in 2017 “Joe Hassett promised me to build out data team and replaced me

with my original role with Zal Ansari and made me take the data role.”). Toward the end of 2018,

Plaintiff began overhearing comments from employees including, “he is not that good,” “cheater,” “he

is very nationalistic,” “He is so cheap,” “Russians are not team players,” “Should I rough him up,” he

“are most likely be [sic] gone,” and “I will be locking money in [the drawer]. Cannot trust him with

nothing.” See Frank Exh. 8, pp. 16-26. Plaintiff was then placed on administrative leave and told to

get proof from his doctor that he was psychologically fit for work, which was in direct response to his

complaints of harassment and discrimination to Human Resources. All the while, Plaintiff continued

to hear offensive comments on a very frequent or daily basis. Thus, the evidence clearly demonstrates

an ongoing pattern of hostility and discrimination that began shortly after Plaintiff started working at

Defendant and continued all the way through his constructive discharge. Because each and every

incident was inextricably connected to the overall hostile work environment, even the incidents that

occurred prior to November of 2016 are included in Plaintiff’s claims and are timely. Thus,

Defendant’s argument here is without merit.

   V. Plaintiff’s retaliation claim

       Plaintiff has established he was retaliated against for his various complaints of harassment and

discrimination to multiple individuals after Defendant removed him from work, accused him of being

mentally unstable, and required him to obtain medical clearance from a physician declaring he was

psychologically fit to return to work. Defendant argues Plaintiff’s retaliation claims fail because (1) its




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decision to remove Plaintiff from work and force him to obtain a medical evaluation proving he was

psychologically stable does not constitute an adverse employment action and (2) Defendant’s reasons

for that decision were non-discriminatory. Defendant’s arguments here are without merit for several

reasons.

       The Second Circuit’s analysis in Kessler v. Westchester Cty. Dept. Soc. Servs., 461 F.3d 199

(2d Cir. 2006), is particularly apposite here. In that case, the Second Circuit relied upon the Supreme

Court’s analysis in Burlington Northern & Santa Fe Railway Co. v. White, 548 U.S. 53 (2006), in

which the Supreme Court noted Title VII’s anti-retaliation provisions, unlike its substantive provision,

were “not limited to discriminatory actions that affect the terms and conditions of employment.” 548

U.S. at 64. Likewise, the Second Circuit agreed,

       [T]he anti-retaliation provision [of Title VII] does not confine the actions and harms it
       forbids to those that are related to employment or occur at the workplace. We also
       conclude that the provision covers those (and only those) employer actions that would
       have been materially adverse to a reasonable employee or job applicant. In the present
       context that means that the employer’s actions must be harmful to the point that they
       could well dissuade a reasonable worker from making or supporting a charge of
       discrimination.

Kessler, 461 F.3d at 209 (emphasis added). It is axiomatic that using an employee’s complaints of

harassment and discrimination as a basis to remove him from duty and force him to get proof from his

doctor that he is psychologically fit for work, without offering any basis to believe the employee’s

ability to perform his job was compromised, could dissuade an employee from making or supporting

those complaints.

       Defendant does not dispute that Plaintiff’s journal prompted its decision to place him on

administrative leave pending a medical examination. When Plaintiff provided Defendant with the

journal, he expressly explained that it summarized the harassment and discrimination he experienced at

Defendant. Roginsky Tr. 147:23. Specifically, the journal noted, among many other incidents,




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Plaintiff’s reduction in job responsibilities and relocation to the cubicle, Ansari’s comment that

Plaintiff was “nationalistic,” and an employee’s comment that “Russians are not team players.” See

Frank Exh. 8, pp. 4, 18, 25. Defendant simply ignored Plaintiff’s specific complaints, arguing the

journal merely contained “disjointed commentary that appeared to be inconsistent with reality.” Frank

Decl. ¶ 18. Defendant then required Plaintiff to see a doctor precisely because of the journal’s

contents. Id. Plaintiff objected to the need for medical evaluation, believing that by requiring he see a

doctor, Defendant was implying that he was crazy for writing the items included his journal. Roginsky

Tr. 206:11-207:21. Plaintiff felt this was in retaliation for his complaints. Id. Thus, the very people

who Plaintiff trusted to help him with his complaints ultimately subjected him to further humiliation

and harassment in response to those complaints. See Roginsky Tr. 156:15-21.

         As discussed in Point I, supra, Plaintiff suffered an adverse employment action when

Defendant subjected him to involuntary administrative leave following his complaints of harassment

and discrimination, and Defendant’s proffered reasons for placing him on leave are pretextual. While

Defendant claims its decision to place Plaintiff on medical leave was motivated by a “good-faith

concern for his well-being,” there is no evidence that its purported concerns for Plaintiff’s well-being

related to his ability to perform his job responsibilities. Indeed, Plaintiff questioned the reasons for

Defendant’s decision to direct him to obtain a statement from his physician indicating he was able to

work, specifically stating to Defendant, “I don’t see any reason for it.” Frank Exh. 9; Roginsky Tr.

207:3.

         Again, Defendant’s only support for its decision is the single conclusory allegation by Frank

that “Mr. Roginsky’s conduct caused business-line management and members of the Human

Resources department to reasonably believe that Mr. Roginsky’s ability to perform the essential

functions of his position may be impaired,” which is a purely speculative claim regarding a legal




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conclusion, not an assertion of fact. Frank Aff. ¶ 19. Defendant offers no evidence about what

specific conduct on Plaintiff’s part caused Defendant’s purported concerns or what specific functions

of Plaintiff’s position Defendant believed he may not be able to perform as a result. As such, Frank’s

statement is plainly insufficient to set forth a legitimate, nondiscriminatory reason for the adverse

action of placing Plaintiff on administrative leave and requiring him to obtain medical clearance from

his doctor prior to returning to work. Defendant has not alleged Plaintiff’s performance was

unsatisfactory or deficient in any way. Therefore, Defendant’s claims it decided to place Plaintiff on

leave out of “concern for [Plaintiff’s] well-being” are entirely unsubstantiated and are thus clearly

pretextual.

   VI. Plaintiff can recover his moving expenses

       As Defendant only challenges Plaintiff’s claims for lost wages and his moving expenses,

Defendant does not dispute that Plaintiff is entitled to recover other damages, including those for

emotional distress. As for Defendant’s argument that Plaintiff voluntarily resigned, this argument is

thwarted by the fact Plaintiff did not voluntarily resign, but was constructively discharged. This is the

only reason he was forced to relocate to Florida, as he accepted a position with another employer in an

effort to specifically fulfill his duty to mitigate his losses. See Delia v. Donahoe, 999 F.Supp.2d 416,

420-24 (E.D.N.Y. 2014). Notably, Defendant makes no argument that Plaintiff’s moving expenses of

over $550,000 are not legitimate. Rather, Defendant argues Plaintiff should have sold his home in

Buffalo after he moved to Florida for his new job following his termination. Defendant makes no

assertions regarding whether it would have even been reasonable for Plaintiff to sell his Buffalo home

or how much, if anything, Plaintiff would have recovered from the sale of his home to offset any of the

moving expenses he incurred. Indeed, at his deposition Plaintiff testified it was not feasible to sell the

house in Buffalo because his son was still studying at Niagara University and still lived at the house.




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Roginsky Tr. 256:5-21. Defendant does not dispute that Plaintiff did, in fact, incur the expenses he

claims. See Roginsky Tr. 249:17-259:4. Moreover, even if some of Plaintiff’s moving expenses could

be offset by selling his Buffalo home (which Defendant has no proof of), this does not, as Defendant

argues, preclude Plaintiff from recovering losses in this category altogether. Defendant’s argument

here is totally without merit.

                                               CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests this Court deny Defendant’s Motion in

its entirety and set this matter forth to a trial on the merits.



Dated: Cheektowaga, New York
       November 22, 2021

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